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                  UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,
                   Plaintiff

             v.                                      Civil Action No. 4:18-CV-2350

THE PENNSYLVANIA STATE
UNIVERSITY

                   Defendants


                                      ORDER

                     8
      AND NOW, this ___
                           th
                                 January
                        day of _ _  _ _ _, 2019, the Plaintiffs Motion

to Proceed Under Pseudonym "John Doe" and Request for Leave of Court to Refer

to Complainant as "Jane Roe" is hereby GRANTED.

      All materials filed on the public docket will use "John Doe" to refer to

Plaintiff and "Jane Roe" to refer to defendant.



                                              By the court,



                                                  s/ Matthew W. Brann
